  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1237

                       JOHN MUISE,

                  Plaintiff, Appellant,

                            v.

       NEW ENGLAND MEDICAL CENTER HOSPITALS, INC.,

                   Defendant, Appellee.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

      [Hon. Richard G. Stearns, U.S. District Judge]

                          Before

                 Boudin, Circuit Judge,
            Campbell, Senior Circuit Judge,
               and Lynch, Circuit Judge.

 Damon Scarano on brief for appellant.
 Matthew P. Poppel and Poppel &amp;amp; Pingitore on brief for
appellee.

July 2, 1998

                                            Per Curiam.  Essentially for the reasons stated by
the district court in its Memorandum and Order dated January
28, 1998, we conclude that plaintiff's complaint properly was
dismissed as untimely under M.G.L. c. 151B,  9.
          Affirmed.  See 1st Cir. Loc. R. 27.1.
